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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 ELI LILLY AND COMPANY,
                                                        Civil Action No. 1:16-cv-308-TWP-MPB
       Plaintiff/Counterclaim Defendant,

                     v.




        Defendants/Counterclaimants.


            PLAINTIFF’S REDACTED APPENDIX (PARTS 1-9 AND 14-16) IN
         SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION
               FOR SUMMARY JUDGMENT OF NONINFRINGEMENT

         Defendants, Dr. Reddy’s Laboratories, Ltd. and Dr. Reddy’s Laboratories, Inc.

  (collectively, “DRL”), hereby file a redacted version of Plaintiff’s Appendix (Parts 1 – 9 and 14-

  16) in Support of Plaintiff’s Opposition to Defendants’ Motion for Summary Judgment of

  Noninfringement.

                                               Respectfully submitted,
  Dated: September 21, 2017
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 21st day of September, 2017, a copy of the foregoing
  Plaintiff’s redacted Appendix (Parts 1 – 9 and 14-16) in Support of Plaintiff’s Opposition to
  Defendants’ Motion for Summary Judgment of Noninfringement was filed electronically. Notice
  of this filing will be sent to the following parties by operation of the Court’s electronic filing
  system:

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